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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


In re:                                                      Chapter 11

ROCHESTER DRUG CO-OPERATIVE, INC.                           Case No. 20-20230 (PRW)

                             Debtor.



Advisory Trust Group, LLC, as trustee of the RDC            Adv. Proc. No. 22-02025 (PRW)
LIQUIDATING TRUST,

                             Plaintiff,
         v.

LIFESCAN, INC. AND LIFESCAN GLOBAL
CORPORATION d/b/a LIFESCAN,

                             Defendants.



          STIPULATION BY AND BETWEEN THE LIQUIDATING TRUSTEE
         AND LIFESCAN, INC. AND LIFESCAN GLOBAL CORPORATION d/b/a
             LIFESCAN REGARDING MEDIATION PROCEDURES AND
         CONTINUANCE OF RULE 16 CONFERENCE PENDING COMPLETION
                               OF MEDIATION

         This stipulation (the “Stipulation”) is made and entered into by and between (a)

Advisory Trust Group, LLC, in its capacity as the Liquidating Trustee (“Liquidating Trustee”

or “Plaintiff”) of the RDC Liquidating Trust, on the one hand, and (b) Lifescan, Inc. and


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Lifescan Global Corporation d/b/a Lifescan (“Lifescan” or “Defendants”) on the other hand.

For purposes of this Stipulation, the Liquidation Trustee and Defendants are each a “Party” and

collectively, the “Parties.” The Parties hereby stipulate and agree as follows:

                                            RECITALS

        A.       On March 12, 2020 (the “Petition Date”), Rochester Drug Co-operative, Inc.

 (“RDC”) filed a voluntary petition in this Court for relief under chapter 11 of the Bankruptcy

 Code. Prior to filing its chapter 11 case, RDC was a distributor of pharmaceutical drugs.

        B.       On February 26, 2021, the Second Amended Chapter 11 Plan of Liquidation

 [Docket No. 1145] (the “Plan”) was confirmed by the Court pursuant to its Decision and Order

 and Findings of Fact and Conclusions of Law Confirming Second Amended Chapter 11 Plan of

 Liquidation [Docket No. 1256] (the “Confirmation Order”).

        C.       Pursuant to the Plan, the Confirmation Order, and that certain Liquidating Trust

 Agreement and Declaration of Trust (attached to the Plan, the “Trust Agreement”), the

 Liquidating Trustee succeeded to the rights of RDC and retains the exclusive right, power and

 interest to pursue, commence, prosecute, compromise, settle, and dismiss causes of action

 belonging to the Debtor, including, without limitation, avoidance actions under sections 502(d),

 544, 545, 547, 548, 549, 550, 552(b) or 553 of the Bankruptcy Code.

        D.       On February 3, 2022, the Liquidating Trustee initiated the above-referenced

 adversary proceeding (the “Avoidance Action”) by filing a Complaint for Avoidance and

 Recovery of Preferential Transfers and Objection to Claims (“Complaint”) against Defendants.

        E.       On April 15, 2022, Defendants timely responded and filed an Answer to the

 Complaint.

        F.       The Parties are familiar with the Court’s procedures and policies regarding

 adversary proceedings, including the Court’s standard protocol to issue an Order Setting Rule



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 16 Conference (“Rule 16 Order”) immediately upon the filing of an Answer. The Court

 entered a Rule 16 Order prior to the date of this Stipulation (ECF AP 11).

        G.       The Court has broad discretion to adopt and implement guidelines that will aid in

 the administration of the Avoidance Action, including the procedures herein (collectively, the

 “Mediation Procedures”). Pursuant to Bankruptcy Code section 105(a) and certain

 Bankruptcy Rules, including Bankruptcy Rules 7016, 7026, and 9006(b), the Court is

 authorized to alter timing and to establish streamlined procedures governing the Avoidance

 Actions brought by the Liquidating Trustee. Bankruptcy Rule 7016(a) authorizes the Court to

 enter orders for the purpose of:

             1) Expediting disposition of the action;
             2) Establishing early and continuing control so that the case will not be protracted
                because of lack of management;
             3) Discouraging wasteful pretrial activities;
             4) Improving the quality of the trial through more thorough preparation; and
             5) Facilitating settlement.

Fed. R. Bankr. P. 7016(a) (incorporating FRCP 16).

        H.       The Parties have begun settlement discussions and, subject to this Court’s

 approval, wish to schedule and participate in a mediation (the “Mediation”) and to adopt these

 Mediation Procedures in order to avoid some of the burden and expense associated with

 immediate litigation.

                                          STIPULATION

        1.       The foregoing recitals are hereby fully incorporated and made an express part of

this Stipulation.

        2.       Effective Date. The Stipulation and Mediation Procedures shall be effective only

upon entry by the Court of an order approving this Stipulation (the “Effective Date”).

        3.       Suspension of Requirement to Conduct Scheduling Conference. FRCP 26(f)

made applicable pursuant to Bankruptcy Rule 7026, is hereby suspended and deemed not


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applicable to the Avoidance Action until the Court terminates the suspension of its Rule 16

Order as set forth in paragraph 6 below. Accordingly, the Parties shall not be required to confer

regarding discovery scheduling or submit a written report under FRCP 26(f); and no Party shall

be required to appear at an initial pretrial conference unless and until the Court terminates the

suspension of its Rule 16 Order after the Mediation or such earlier time as the Court, in the

exercise of its discretion, deems appropriate.

        4.       Stay of Discovery Pending Completion of Mediation. The Parties’ rights and

obligations to conduct formal discovery shall be, and hereby are, stayed until the Mediation is

concluded or such earlier time as the Court, in the exercise of its discretion, deems appropriate;

provided, that the stay of discovery shall in no way preclude Plaintiff and Defendants from

informally exchanging documents and information in an attempt to resolve the Avoidance Action

in advance of, or during, the Mediation.

        5.       Mediation Process. The Avoidance Action shall be referred to mediation and

shall be subject to the following procedures:

             a. Within fifteen (15) days of the Effective Date, the Parties shall jointly select a

                 mediator from the following list of proposed mediators (collectively, the

                 “Mediators”): Leslie A. Berkoff, Esq. of Moritt Hock & Hamroff LLP; Ian

                 Connor Bifferato, Esq. of The Bifferato Firm, P.A.; Richard I. Janvey, Esq. of

                 Diamond McCarthy LLP.

             b. Upon notification of selection, the Mediator shall have 5 calendar days to

                 determine whether the Mediator has any conflicts with Plaintiff or Defendants

                 and, in the event of a conflict, shall abstain from acting in the particular

                 Mediation. If the selected Mediator abstains, Defendants will be given another

                 fifteen (15) days to select an alternate Mediator from the list above.



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             c. Within fifteen (15) days of the Mediator confirming the absence of conflicts, the

                 Parties and Mediator shall mutually schedule the Mediation date.

             d. Unless both Parties and the Mediator agree to an alternative method, at the sole

                 discretion of the Mediator (taking into consideration i) the size of the Avoidance

                 Action to be mediated and ii) the safety and feasibility of in-person meetings at

                 the time of the Mediation) the Mediation shall be conducted either: (1) via a video

                 conferencing service (such as Zoom); or 2) in person. In the event the Mediation

                 is conducted by Zoom, no Party shall record any part of the Mediation session in

                 any manner. The Parties represent and warrant that only the persons to whom the

                 Zoom invitation was sent by the Mediator shall attend and be admitted into the

                 virtual Mediation. The Parties agree to use their best efforts to ensure all

                 participants have the requisite equipment to be connected with video.

             e. Fourteen (14) days prior to the scheduled Mediation, Plaintiff and Defendants

                 shall exchange position statements and provide a copy of such statements to the

                 Mediator, which statements may not (unless agreed in writing by both Parties and

                 the Mediator) exceed ten (10) pages double-spaced (exclusive of exhibits and

                 schedules). Unless otherwise directed by the Mediator, the position statements

                 shall be shared by the Parties, except that any Party that has confidential

                 information may share such confidential information solely with the Mediator by

                 way of a separate statement. Position statements shall include a summary of the

                 pre-mediation settlement offers, if any, made by each Party. The Mediator may

                 provide the Parties with further instructions regarding their respective position

                 statements that are not inconsistent with these Mediation Procedures and may

                 request that the Parties provide additional papers, exhibits, and/or a settlement

                 proposal.

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             f. The Mediator will preside over the Mediation with full authority to determine the

                 nature and order of the Parties’ presentations and, with the exception of Rule 408

                 of the Federal Rules of Evidence, the rules of evidence will not apply. The

                 Mediator may implement additional procedures that are reasonable and practical

                 under the circumstances and that are not inconsistent with the Order or these

                 Mediation Procedures.

             g. Plaintiff and Defendants will participate in the Mediation, as scheduled and

                 presided over by the Mediator, in good faith and with a view toward reaching a

                 consensual resolution. The Mediation shall be attended by a representative of

                 Defendants with full settlement authority, and if Defendants are represented by

                 counsel, their counsel shall attend as an additional participant (not the same as the

                 client representative). Nothing set forth in these Mediation Procedures shall be

                 deemed to permit a corporate entity to represent itself pro se or relieve a corporate

                 entity of the requirement to be represented by legal counsel.

             h. The fees and costs of the Mediator (the “Mediation Fee”) shall be paid equally by

                 the Parties on a fixed-fee schedule as set forth below. The Mediator shall earn

                 one-fourth of the Mediation Fee seven (7) days prior to the commencement of the

                 scheduled Mediation (the “Initial Mediation Fee”). The remaining balance of the

                 fee shall be deemed earned by the Mediator unless the Parties inform the

                 Mediator at least twenty-four (24) hours prior to the scheduled Mediation that

                 they have reached a settlement and the Mediation will not go forward. Any

                 earned fees by the Mediator, including the Initial Mediation Fee, shall be due and

                 paid by the Parties within ten (10) calendar days after the date of the scheduled

                 Mediation.



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                             i.     Avoidance Action with an amount at issue, net of new value, of
                                    less than $50,000: $3,000.00 per case;

                             ii.    Avoidance Action with an amount at issue, net of new value, equal
                                    to or greater than $50,000 and less than $100,000: $4,000 per case;

                             iii.   Avoidance Action with an amount at issue, net of new value, equal
                                    to or greater than $100,000 and less than $400,000: $5,000 per
                                    case;

                             iv.    Avoidance Action with an amount at issue, net of new value, equal
                                    to or greater than $400,000 and less than $1,000,000: $6,000.00
                                    per case; and

                             v.     Avoidance Action with an amount, net of new value, equal to or
                                    greater than $1,000,000: $7,000 per case.

             i. If the Mediation occurs and is continued for more than one calendar day, fees will

                 be incurred on an agreed upon hourly fee basis (not to exceed $500 per hour) by

                 the Mediator to be paid equally by the Parties.

             j. If Defendants have an additional Avoidance Action commenced against affiliates

                 in the RDC bankruptcy case, it may mediate all related Avoidance Actions at one

                 time and, in such event, the Mediation Fee shall be based upon the combined total

                 claim amount for all such Avoidance Actions.

             k. The Mediator may adjourn the Mediation if they determine that an adjournment is

                 in the best interests of the Parties.

             l. Each Party agrees to participate in the scheduling of the Mediation in good faith.

                 If the Mediator feels that a Party to the Mediation is not attempting to schedule or

                 resolve the Mediation in good faith, or has failed to comply with the mediation

                 procedures set forth in this Order, the Mediator may terminate the Mediation and

                 file the Mediator’s Report (defined below), identifying any instances of alleged

                 bad faith or non-compliance. The Court may thereafter, without need for further

                 motion by any Party and within its sole discretion, schedule a hearing to address



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                 such report; and if the Court determines that a Party did not participate in the

                 Mediation in good faith, the Court may consider the imposition of sanctions.

             m. The Mediator and their agents shall have the same immunity as judges and court

                 employees have under federal and state law and common law from liability for

                 any act or omission in connection with the Mediation. Participants agree that they

                 shall not subpoena the Mediator or the Mediator’s records, or seek to compel the

                 testimony of or record production from the Mediator, in any court or other

                 adjudicative proceedings. Neither the Mediator nor their agents, partners, law

                 firm, or employees (a) are necessary parties in any proceeding related to the

                 Mediation or the subject matter of the Mediation nor (b) shall be liable to any

                 Party for any act or omission in connection with the Mediation conducted

                 pursuant to the Order. Any documents provided to the Mediator by the Parties

                 may be destroyed or electronically deleted within 30 days after the filing of the

                 Mediator’s Report.

             n. All proceedings, discussions, and written materials incident to the Mediation shall

                 be confidential and shall not be reported or be admissible in evidence, nor will

                 anything stated or exchanged during or in connection with the Mediation operate

                 as an admission of liability, wrongdoing, or responsibility. However, nothing set

                 forth herein shall convert any evidence or information that is otherwise

                 discoverable or admissible to be deemed privileged or confidential merely by its

                 use in the mediation process.

             o. All deadlines pertaining to the Mediation may be extended and/or modified by the

                 Court upon written motion and good cause shown.

             p. After the conclusion of the Mediation (or in the event of adjournment or

                 termination of the Mediation for reasons set forth above), the Mediator shall file

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                 with the Court a certificate of completion (“Mediator’s Report”), which shall be

                 limited to (a) who attended the Mediation, (b) whether each Party complied in

                 good faith with the mediation-related provisions of this Order, and (c) whether a

                 settlement was reached regarding the Avoidance Action.

         6.      Discovery and Trial Scheduling. The Mediation shall be deemed concluded for

all purposes once the Mediator’s Report is filed with the Court. In the event that the Avoidance

Action is not resolved, Plaintiff’s counsel shall contact chambers to request that suspension of

the Rule 16 Order be terminated. The Court reserves the right to terminate the mediation if

acceptable progress is lacking in the Court’s view.

         7.      Upon activation of the Rule 16 Order, the Parties are obligated to meet and confer

regarding initial disclosures and the filing of a discovery plan pursuant to FRCP 26(f), and to

appear for a scheduling and settlement conference as required by the Rule 16 Order. After the

Rule 16 Order is issued, all deadlines contemplated by the Bankruptcy Rules and the Court shall

apply.




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        8.       The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of any Order approving this Stipulation.

Date: April 22, 2022                           PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Ilan D. Scharf
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                                               Ilan D. Scharf (NY Bar No. 4042107)
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                                               Counsel to Plaintiff RDC Liquidating Trust

Date: April 21, 2022                           BORGES & ASSOCIATES, LLC

                                               /s/ Wanda Borges
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                                               Counsel to Defendants Lifescan, Inc. and Lifescan
                                               Global Corporation d/b/a Lifescan


SO ORDERED

DATED: ________________, 2022                          ______________________________
      Rochester, New York                              HON. PAUL R. WARREN
                                                       United States Bankruptcy Judge




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